         Case 14-31229-sgj15        Doc 192       Filed 12/03/18      Entered 12/03/18 16:51:01           Desc
                                                     Page 1 of 1




 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed December 3, 2018
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
MtGox Co., Ltd.                                            §    Case No.: 14−31229−sgj15
Nobuaki Kobayashi                                          §    Chapter No.: 15
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
    The Court, having considered the Application for Admission Pro Hac Vice of Gerard T. Cicero, to represent
Nobuaki Kobayashi, in his capacities as the Bankruptcy Trustee and Foreign Representative, related to document 191,
ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
